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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

3G LICENSING, S.A.,                                )
KONINKLIJKE KPN N.V., and                          )
ORANGE S.A.,                                       )      Case No. 17-cv-83-LPS-CJB
                                                   )
              Plaintiffs,                          )      JURY TRIAL DEMANDED
                                                   )
              v.                                   )
                                                   )
HTC CORPORATION and HTC AMERICA                    )
INC.,                                              )
                                                   )
              Defendants.                          )
                                                   )

                    NOTICE OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) and this Court’s Order at D.I.

73, Plaintiffs 3G Licensing, S.A., Koninklijke KPN N.V., and Orange S.A. hereby dismiss

without prejudice all claims previously asserted in this action against Defendant HTC America

Inc.

Dated: December 27, 2017                        Respectfully submitted,

                                                FARNAN LLP

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